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                               UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MASSACHUSETT


In Re:                               )       Chapter 13
OWEN R. MCKENNA                      )       Case No. 14-15109-JEB
ELLEN L. MCKENNA                     )
         Debtors                     )
------------------------------------

                       MOTION OF DEBTORS PURSUANT TO RULE 3002.1(h)

To the Honorable Janet E. Bostwick, Bankruptcy Judge:

         The above captioned Debtors, in response to Document 309, the Order issued by this

Court on October 21, 2020 (the “Order”) regarding U.S. Bank Trust N.A. Response to the

Chapter 13 Trustee’s Notice of Final Cure Payment (the “U.S. Bank Response”), request that this

Court find that the Debtors have paid all required post-petition amounts to U.S. Bank Trust N.A.

(the “Lender”). In accordance with the Order, responses are due by November 12, 2020.

         1. Part 3(a) of U.S. Bank Response indicates total post-petition payments due of

             $5,394.86. 1 The Debtors state that the payment history fails to include a payment of

             $5,276.01 dated April 2, 2019. See Exhibit A annexed hereto.

         2. The Debtors also state that the actual payment on February 7, 2017 is short by

             $1,184.74 as was indicated to the Lender two (2) years ago. Said payment was posted

             at $3,643.20 but the actual payment was $4,827.94. Also, the date on the chart is

             incorrect. The date the check was posted is February 7, 2018. See Exhibit B annexed

             hereto.

         3. On October 22, 2020, the Lender filed Document Number 310, entitled Supplement

             to Response to Notice of Final Cure Payment (hereinafter Document 310).


1
  As a result of Exhibits A and B, there is not a post-petition balance due but rather an overpayment of $1,065.89
through October 2020.
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        4. Document 310 is confusing. For example, the Debtors cannot locate the total of

             $15,738.18 2 anywhere in Document Number 310.

        5. Document 310 does not appear to contain totals for each column.

        6. Unlike the spreadsheet in part B of Form 4100R, the twelve-page spreadsheet

             attached to support the outstanding escrow balance, Document 310, was almost

             entirely not useful. Among many problems with the document, Mr. and Mrs.

             McKenna could not find their current outstanding escrow balance as shown in Form

             4100R nor could they derive said information from the data in the spreadsheet. In

             addition, the dates in the spreadsheet did not correspond to the post-petition period

             starting 7/1/2015 (for example, their earliest escrow balance shown is dated

             3/1/2016).

        7. On November 30, 2017, there is an entry on Document 310 labelled Investor Transfer

             without Cash. The Debtors have no idea the basis of this entry.

        8. Pages 6,7,8 column 3 of Document 310 contain entries dated in 2022, 2023 and 2024.

             See highlights on Exhibit C (annexed hereto). None of those years have yet to arrive.

        9. The 4th column of Document number 310 contains various entry codes, none of which

             are explained.

        10. In Part 3 of Form 4100R 3 on page 1, it states that the "debtors are contractually

             obligated for the post-petition payment(s) that first became due on: 09/01/2020. This

             entry is not understood. Mr. and Mrs. McKenna are current on all of their post-

             petition payments.


2
  Total fees, charges, expenses, escrow and costs outstanding in Form 1400R filed on October 20, 2020. On
November 10, 2020, the Lender filed a Notice of Mortgage Payment Change, page 4 thereof indicates a starting
balance of $15,738.18. Mr. and Mrs. McKenna are reviewing this document.
3
  Form 4100R is annexed hereto as Exhibit D.
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    11. In Form 4100R, total fees, charges, expenses, ESCROW, and costs outstanding in

       (Part 3b) - $15,738.18 (total) and the figure of $12,108.68 relate to escrow.

    12. The post-petition escrow portion $12,108.68 of the total amount due in Part 3b of

       Form 4100R is disputed. According to the records of Mr. and Mrs. McKenna, the

       correct post-petition escrow amount due is $9,238.22 as shown in the attached "BSI

       Escrow Balance Summary" spreadsheet which is annexed as Exhibit E.

    13. As per the Amended Proof of Claim, the escrow balance was -$22,028.66 as of

       6/9/2015. The payment of this amount and an additional payment of $7,113.98

       (required minimum escrow balance as of that date) was included in the total

       prepetition cure amount (PCR) of $73,190.59.

    14. The above two escrow payments total $29,142.64. This amount represented an

       escrow accounts receivable as of 7/1/2015. This amount was paid in full by 7/7/2020

       as part of the total PCR of $73,190.59.

    15. The effective escrow balance of 7/1/2015, the beginning of the post-petition period,

       was $7,113.98 which includes the escrow payments as a receivable credit.

    16. Post-petition mortgage payments were due starting 7/1/2015. Including the payment

       due 10/1/2020, a total of 64 mortgage payments were due and paid. The escrow

       portion of these payments totaled $117,710.05.

    17. BSI (and their predecessor, Fay Servicing) paid all post-petition property taxes (104

       River St., Accounts 59-32 and 59-36) to the Town of Norwell, MA. The total amount

       of these taxes was $112,210.37 from 7/1/2015 through 10/30/2020 for fiscal years

       2016 through 2020 and first and second quarter of fiscal year 2021.
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    18. Fay Servicing never paid homeowners insurance during the time it was the account

       servicer from 7/1/2015 through 8/1/2017. BSI paid homeowners insurance premiums

       starting in October, 2017. The total of all insurance payments from 10/4/2017 through

       10/30/2020 was $21,851.88.

    19. The correct escrow balance as of 10/30/2020 was -$9,238.22. This balance is based

       on the prepetition balance as of 7/1/2015 (C) and includes all payment receipts (D)

       minus all disbursements (E and F) through 10/30/2020 – see Exhibit E.

    20. Mr. and Mrs. McKenna believe that their approach to correctly calculate the post-

       petition escrow balance is straightforward, understandable and can be easily

       confirmed. As per the attached Exhibit E, the escrow component of all post-petition

       mortgage payments minus all tax and insurance disbursements are added to the

       opening post-petition balance of 7/1/2015 to calculate the current escrow post-petition

       balance as of 10/30/20.

    21. Relative to the total fees, charges, expenses, escrow, and costs outstanding (Part

       3b) of Form 4100R - $15,738.18 (total) / $3,629.50 FEES only.

    22. Mr. and Mrs. McKenna dispute the entire amount of the non-escrow portion of Part

       3b Form 4100R (fees, charges, etc.) of $3,629.50 pending being supplied of a full and

       satisfactory explanation by the Lender that these charges were reasonable

       and necessary.

    23. The spreadsheet attached to the Form 4100R lists twelve of these "fees" throughout

       the document: eleven are listed as "Expense Advances" and total $2,054.50; and one

       is listed as "AQ: Bankruptcy Fees" and totals $1,575.00. These twelve charges have

       been listed in our attached Exhibit F.
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       24. Nine of the twelve fees appear to be from when Fay Servicing was the account

          servicer but posted later by BSI. In fact, the spreadsheet of Mr. and Mrs. McKenna

          shows that most of these charges were posted an average of sixteen months after the

          "Paid To Date".

       25. Mr. and Mrs. McKenna have never been notified in advance of these charges nor

          received any correspondence explaining their purpose or justification.

       26. In conclusion, Mr. and Mrs. McKenna dispute the fee portion of Form 4100R,

          $3,629.50. The balance due post-petition for insurance payments is as follows:

              A. Correct escrow balance - $9,238.22

              B. Less overpayment of $1,065.89 per footnote 1;

              C. Balance due for post-petition insurance payments made by Lender on behalf

              of the McKenna’s $8,172.33.

       27. Any other balance in Form 4100R should be disallowed.

       WHEREFORE, the Debtors request that this Court overrule U.S. Bank Response and

enter the discharge for the Debtors upon payment by the Debtors of $8,172.33.

                                            Owen R. McKenna
                                            Ellen L. McKenna
                                            By their Counsel,


Dated: November 12, 2020                    /s/Gary W. Cruickshank, Esq.
                                            21 Custom House Street
                                            Suite 920
                                            Boston, MA 02110
                                            (617) 330-1960
                                            (BBO107600)
                                            gwc@cruickshank-law.com
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                                 CERTIFICATE OF SERVICE

I, Gary W. Cruickshank, hereby certify that on November 12, 2020, I electronically filed with the
Clerk of the Bankruptcy Court, the foregoing Motion and served same in the following manner
upon the interested parties:

Email service: via the Court’s CM/ECF system which sent notification of such filing to the
following:


   •   Richard Askenase askenaselaw@aol.com
   •   Stephanie E. Babin SBabin@DHNewEngland.com,
       sbabinecf@gmail.com,Bankruptcy@DHNewEngland.com
   •   Carolyn Bankowski-13-12 13trustee@ch13boston.com
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       ttabachnik@orlans.com;ANHSOM@4stechnologies.com
   •   Robert F. Tenney rtenney@cmlaw.net
   •   David Yunghans dyunghans@masatlaw.com



And by regular United States mail, postage prepaid upon the following:

       U.S. Bank Trust, N.A.
       c/o BSI Financial Services
       1425 Greenway Drive, Ste. 400
       Irving TX 75038




                                            /s/ Gary W. Cruickshank
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